            Case 1:20-cr-00173-JLT-SKO Document 11 Filed 09/29/20 Page 1 of 1


 1                                                                                 FILED
 2                               SEALED                                           Sep 29, 2020
                                                                               CLERK, U.S. DISTRICT COURT
                                                                             EASTERN DISTRICT OF CALIFORNIA

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                                 IN THE UNITED STATES DISTRICT COURT
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                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 1:20-MJ-00104 EPG

12                                 Plaintiff,            UNDER SEAL

13                          v.                           ORDER UNSEALING COMPLAINT

14   JESUS GONZALEZ-BURGOS.

15                                 Defendant.

16
            The United States having applied to this Court for a complaint and arrest warrant in the above-
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     captioned proceedings and having applied for the complaint and warrant to remain under seal in order to
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     prevent the destruction of evidence and flight of the targets of the investigation, and the defendants now
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     having been arrested such that sealing is no longer required,
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            IT IS ORDERED that the complaint and arrested warrant filed in the above-entitled matter shall
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     be unsealed.         29
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23    Dated: September 24, 2020

24                                                           HONORABLE ERICA P. GROSJEAN
                                                             U.S. MAGISTRATE JUDGE
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      ORDER UNSEALING COMPLAINT AND ARREST               1
      WARRANT
